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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

JASMINE MHREZ,

       Plaintiff,

v.
                                             Case No. 2:22-cv-02152
RADIUS GLOBAL SOLUTIONS, LLC.,

       Defendants.


                        DEFENDANT’S MOTION TO DISMISS

      Defendant, Radius Global Solutions, LLC, pursuant to Federal Rule of Civil

Procedure 12(b)(6), submits this Motion to Dismiss the claims asserted by Plaintiff,

Jasmine Mhrez.

Dated: April 20, 2022                 Respectfully submitted,

                                      /s/ Aaron R. Easley
                                      Aaron R. Easley, Esq.
                                      SESSIONS, ISRAEL & SHARTLE, LLC
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                                      Radius Global Solutions, LLC




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                            CERTIFICATE OF SERVICE

       I certify that on April 20, 2022, a copy of the forgoing was filed electronically in

the ECF system. Notice of this filing will be sent to the parties of record by operation of

the Court’s electronic filing system. Parties may access this filing through the Court’s

system.


                                          /s/ Aaron R. Easley
                                          Aaron R. Easley, Esq.




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